905 F.2d 1539
    134 L.R.R.M. (BNA) 2568, 53 Fair Empl.Prac.Cas.  912
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    Clawzelle WIGGINS, Plaintiff-Appellant;v.CHRYSLER CORPORATION, Acustar, Inc.;  United Automobile,Aerospace, Agricultural Implement Workers of America (UAW),Chrysler International;  United Automobile, Aerospace,Agricultural Implement Workers of America (UAW), ChryslerLocal 1435;  Defendants-Appellees.
    
      No. 89-3662.
      United States Court of Appeals, Sixth Circuit.
      June 25, 1990.
      Before MERRITT, Chief Judge, KEITH and NATHANIEL R. JONES, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    